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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL
                                                                         JS-6
  Case No. SACV 18-00316-CJC(GJSx)                                Date: July 19, 2021

  Title: HOANG TRINH, ET AL. V. THOMAS D. HOMAN, ET AL.



  PRESENT:

       HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

       Rolls Royce Paschal                                  N/A
          Deputy Clerk                                  Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF:            ATTORNEYS PRESENT FOR DEFENDANT:

          None Present                                  None Present

  PROCEEDINGS: (IN CHAMBERS) ORDER CLOSING CASE

         On May 5, 2021, the Court ordered the parties to show cause as to why this case
  should not be dismissed and closed because there is only one claim remaining and the
  parties have been working on settlement. (Dkt. 156.) On June 7, 2021, the parties
  responded that they had reached a tentative agreement which was under review by
  Respondent agencies and the Department of Justice. (Dkt. 158.) Over a month has
  passed, and the parties have not updated the Court on the status of their agreement.
  Accordingly, the Court will CLOSE the case. If settlement is not finalized in 90 days,
  the case will be reopened.


  jy

  MINUTES FORM 11
  CIVIL-GEN                                                        Initials of Deputy Clerk RRP
